                       IN THE UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF TENNESSEE


  ANDREW JOSTEN LOVINGOOD                               )
                                                        )
          Plaintiff,                                    )
                                                        )       Docket No.: 3:19-CV-00009
                                                        )
  v.                                                    )
                                                        )
  BILL JOHNSON,                                         )
  DERRICK GRAVES, and                                   )
  MONROE COUNTY, TENNESSEE                              )
                                                        )
          Defendants.                                   )

                          JOINT MOTION TO CONTINUE TRIAL DATE


       COMES NOW, the plaintiff along with counsel for the defendants and respectfully requests

  by Joint Motion that this Honorable Court continue the trial in this matter. In support the parties

  submit the following:

       1. This matter is currently set for trial on March 16, 2021

       2. The parties have engaged in discovery and as a result Summary Judgment Motions have

  been filed [See Doc.23, 25, and 48 ].

       3. Currently pending before this Honorable Court is Defendant, Monroe Counties, Motion

  for Summary Judgment [Doc. 48].

       4. Counsel for Plaintiff currently has a 7-day trial scheduled in the Eastern District Court of

  Tennessee (Chattanooga Venue) which pre-dates the filing of this complaint scheduled for

  March 8, 2021 Adams v. Blount County et al Case No3:17-CV-00313.

       5. The matter referenced in Paragraph 4 above, was previously assigned to the Honorable




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  Pamela Reeves, then re-assigned to the Honorable Curtis Collier (Chattanooga) and has recently

  been re-assigned to the Honorable Katherine Crytzer.

        6. Counsel for Plaintiff will not be able to participate and or prepare for the Trial of

  Lovingood v. Monroe County et al while participating in the trial of Adams v. Blount County et

  al.

        7. Given the Covid-19 exaggerated case numbers and the uncertainty of Jury Trials all

  counsel would respectfully request that this Honorable Court schedule a trial date in the future,

  and consider scheduling a status conference before confirming a trial date to consider the effects

  of the Covid-19 Pandemic and its impact on scheduling.

           RESPECTFULLY SUBMITTED, this the 12th day of January, 2021.




           THE BOWLIN LAW FIRM P.C.                                       TAYLOR and KNIGHT

  By:       s/ Troy L. Bowlin II
           _________________________for  The Firm                         s/ Arthur Knight w - Permission
                                                                          ________________________
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           HINDMAN and LANZON


           _________________________
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                                 CERTIFICATE OF SERVICE

         I hereby certify that, a copy of the foregoing Motion to Extend Time was transmitted for
     service via Pacer and this Court’s Electronic Court Filing System to counsel of record for all
     parties.

                                                     THE BOWLIN LAW FIRM P.C.



                                              By:       _______________________ for The Firm
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